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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Thérése Poulan Dubois, as Special               §
Administrator of the Estate of Denise           §
                                                                               1:15-cv-8737
Dubois, deceased,                               §                   Case No. ________________
                                                §
                       Plaintiff,               §
                                                §
vs.                                             §
                                                §
Rail World, Inc., et al.,                       §
                                                §
                       Defendants.              §


                                       Notice of Removal

        As allowed by 28 U.S.C. §§ 1334(b), 1367(a), 1446, and 1452(a), Canadian Pacific

Railway Company (CP) removes this action from the Circuit Court of Cook County, Illinois, No.

2015 L 006528 to this Court. In support, CP states as follows:

I.      Background

        A.     The pending lawsuit

        1.     This lawsuit is one of 35 cases brought in Illinois state court arising from the July

6, 2013 train derailment in Lac-Mégantic, Quebec. Am. Cmplt. pp. 3-4. The train, including 72

tank cars containing Bakken formation crude oil, derailed after the unattended train’s brakes

disengaged.     The derailment allegedly caused deaths, injuries, property damage, and

environmental harm. Montreal, Maine and Atlantic Railway Ltd. (“MMA”) operated the train at

the time of the derailment. Am. Cmplt. ¶ 120.

        2.     The accident, the injuries, and the alleged misconduct did not occur in Illinois.

Nevertheless, on June 25, 2015, Thérése Poulan Dubois, as Special Administrator of the Estate




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of Denise Dubois, deceased, initiated this action by filing a complaint in the Circuit Court of

Cook County, Illinois, No. 2015 L 006528. [See Exhibit A, pp.5-6].

        3.     On August 21, 2015, plaintiff filed an amended complaint, which remains the live

pleading. [See Exhibit A, p.7]. The amended complaint names CP as one of 53 defendants.

Am. Cmplt. ¶¶ 2-55 [Exhibit B, pp.5-10].

        4.     At least 34 other lawsuits were filed in Cook County around the same time,

naming the same defendants and substantially stating the same allegations. [See Exhibit E

(listing 17 “New Illinois Cases” recently re-filed in Cook County, Illinois); Exhibit F (listing 18

other cases recently filed in Cook County, Illinois)]. The 17 cases listed in Exhibit E were

purportedly served on CP; the 18 cases listed in Exhibit F have not been served on CP.1

        5.     On September 8, 2015 plaintiff attempted to serve the amended complaint as well

as 16 other lawsuits on CP. Plaintiff served CT Corporation in Chicago, Illinois purportedly as

CP’s agent for service of process. But CT Corporation is not an authorized agent for service of

process on CP. Therefore, while on notice of this lawsuit, CP has not yet been properly served.

By filing this notice of removal, CP does not waive insufficiency of service of process defenses.

        6.     As in the 34 other lawsuits, plaintiff alleges misfeasance by all defendants,

including negligent handling of a volatile substance, misclassification of cargo, and negligent use


        1
         The plaintiffs in each of the 18 unserved lawsuits filed motions to voluntarily dismiss
against CP, as authorized by 735 ILCS 5/2-1009. At this time, no order or amended complaint is
on record granting or confirming that dismissal. Instead, and inconsistent with any voluntary
dismissal, on September 10, 2015, plaintiffs’ counsel sent CP, by CD, an electronic copy of all
35 complaints, and on September 21, 2015, plaintiff’s counsel served CP with 35 individual
motions to stay the state court actions.
        Uncertainty regarding status in those lawsuits and in an abundance of caution, CP
removed the 18 unserved actions within 30 days of receiving the complaints. 28 U.S.C.
§ 1446(a); but see Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999) (mere
receipt of a complaint without summons or proper service insufficient to trigger the 30-day
removal period).

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of DOT-111 tank cars in disregard of supposedly known safety risks. See Am. Comp. ¶¶ 73-124.

Count V states those allegations against CP. Id. ¶¶ 183-191.

        7.     On September 18, 2015, plaintiff filed a motion to stay all 35 state-court actions.

That motion was scheduled for hearing on October 5, 2015. No stay has been ordered at the time

of this removal.

        B.     Prior and related litigation

        8.     In July and August 2013, nineteen individual wrongful death suits were filed in

the Circuit Court of Cook County, Illinois, alleging the same facts as this lawsuit but naming

only some of the defendants—including MMA; Rail World, Inc.; Edward Burkhardt; World Fuel

Services Corporation; Western Petroleum Company; Petroleum Transport Solutions, LLC;

Dakota Plains Transloading, LLC; and DPTS Marketing, LLC.             [See Exhibit F (listing 19

“Original Illinois Cases” filed in 2013)].

        9.     This lawsuit constitutes re-filing of one of the Original Illinois Cases.      See

Theresa Poulan Dubois o/b/o Estate of Denise Dubois v. Rail World, Inc., et al., 2013 L 008536.

That 2013 action was brought on behalf of the same estate as this case, alleged substantially the

same facts, and raised the same claims, but named fewer defendants.

        10.    On August 7, 2013, MMA—the entity operating the train at the time of

derailment—filed for chapter 11 bankruptcy protection in Maine. See In re Montreal Maine &

Atlantic Railway, Ltd., Case No. 13-10670, Dkt. 1. Those proceedings remain pending before

the Maine bankruptcy court.

        11.    Following the bankruptcy filing, some defendants in the 19 Original Illinois Cases

removed the actions to this Court, and thereafter sought transfer to the United States District

Court for the District of Maine, raising multiple grounds for jurisdiction. One basis for removal



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was Section 1334(b): the Original Illinois Cases were “related to” the MMA bankruptcy

proceedings.

        12.    On March 21, 2014, the United States District Court for the District of Maine

confirmed “related to” jurisdiction as to the Original Illinois Cases and transferred all 19 cases to

Maine. See Order on Mot. to Transfer Cases and Mot. to Strike, In re: Montreal Maine and

Atlantic Railway, LTD., No. 1:13-MC-00184-NT (D. Me. Mar. 21, 2014) (Torrensen, J.)

(Transfer Order) [Exhibit C, pp.14-40]. Exhibit F identifies the case numbers for Illinois actions

that Judge Torrensen transferred to Maine federal court.

        C.     Litigation still pending

        13.    Three days after the Transfer Order, while the physical transfer to Maine was in

process, the plaintiffs moved to voluntarily dismiss 17 of the 19 Original Illinois Cases. The

defendants disputed that dismissal and moved to strike. Before the court could rule on the

motion, the Original Illinois Cases were stayed pending resolution of the Chapter 11 bankruptcy

and settlement discussions among various defendants, plaintiffs, and the bankruptcy trustee.

        14.    A tentative settlement was reached as to all potential defendants except CP. The

settling parties agreed to continue the stay as to all Original Illinois Cases and filed a stipulated

stay order on July 24, 2015. See Stip. Second Am. and Restated Order Staying Proceedings

Pending Appeal, In re: Montreal Maine and Atlantic Railway, LTD., No. 1:13-MC-00184-NT

(D. Me. July 24, 2015) [Exhibit C, pp.41-55].

        15.    CP is not a party to the stipulation for the stay. Nevertheless, the terms as ordered

by the Maine district court stayed each of the Original Illinois Cases as to all previous and new

defendants until confirmation of the settlement plan in the bankruptcy proceedings. [Exhibit C,

p.42 ¶ 1].



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        16.    Despite those pending cases, including the pending 2013 lawsuit brought on

behalf of the Estate of Denise Dubois, plaintiff re-filed this action in Illinois state court and

attempted to serve CP with an amended complaint. According to plaintiff, re-filing this lawsuit

was appropriate because the settlement plan requires cooperation from the bankruptcy trustee to

return all of the Original Illinois Cases to Illinois state court. Pl’s. Mot. to Stay, ¶¶ 14-15

[Exhibit C, p.12].

II.     Removal is procedurally proper

        17.    CP was purportedly served with the amended complaint on September 8, 2015,

and although CP disputes proper service of process, CP timely files this Notice of Removal

within 30 days of receiving a copy of pleadings setting forth plaintiff’s claims. See 28 U.S.C.

§1446(b) (a civil defendant has 30 days after the receipt of the initial pleading to file a notice of

removal).

        18.    This action is properly removed to this Court as the district and division

embracing the county wherein the state-court action is pending. See 28 U.S.C. §§ 1452(a).

        19.    In accordance with 28 U.S.C. § 1446(a), all process, pleadings, and orders

received by CP are attached as exhibits:

               Exhibit A.         The state court docket

               Exhibit B.         Alias summons and amended complaint

               Exhibit C.         Plaintiff’s notice of motion and plaintiff’s motion to stay

               Exhibit D.         Related 2013 Cook County complaint

        20.    As required by 28 U.S.C. § 1446(d), CP will promptly file a copy of this Notice of

Removal with the Circuit Court of Cook County, Illinois, where this state-court action was

pending.



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        21.    Removal is proper under 28 U.S.C. § 1452(a) because 28 U.S.C. § 1334(b) vests

this Court subject matter jurisdiction over this action.


III.    This action is related to MMA’s bankruptcy proceeding so as to afford removal
        jurisdiction

        22.    Plaintiff’s lawsuit is related to MMA’s Chapter 11 bankruptcy proceeding

because the outcome could affect debtor’s rights, liabilities, options or freedom of action. In

particular, plaintiff’s claims implicate liability insurance shared by MMA and several named

defendants including CP so as to likely affect any recovery available to the estate.        With

jurisdiction over the claims brought against some defendants, this Court has supplemental

jurisdiction over all other defendants. And while those named defendants may have settled in

principle with the bankruptcy trustee no settlement is final.

        23.    In addition, and after the Transfer Order, CP filed a proof of claim against the

Chapter 11 debtor in Maine Bankruptcy Court. See In re Montreal Maine & Atlantic Railway,

Ltd., Case No. 13-10670, Claim 92-2 (Proof of Claim). The Proof of Claim, among other things,

seeks contribution and indemnity from the debtor for claims such as those asserted in this action.

And after the Proof of Claim was filed, the Chapter 11 trustee commenced an adversary

proceeding against CP and other defendants all of whom are parties to this proceeding. See

Robert J. Keach, solely in his capacity as the chapter 11 trustee for Montreal, Maine & Atlantic

Railway, Ltd. v. World Fuel Services Corporation, et al., Adversary Proceeding No. 14-1001 (the

Adversary Proceeding). The direct, counter and cross-claims asserted by the parties in the

Adversary Proceeding involve negligence that allegedly resulted in the train derailment in Lac-

Mégantic, Quebec as well as contribution and indemnity for claims. See Adversary Proceeding,

Dkt. 134 (Second Amended Complaint) and 158 (CP Answer, Counter and Cross-Claims). Thus



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plaintiff’s claims in this case are related to MMA’s Chapter 11 bankruptcy proceeding because

the outcome could affect debtor’s rights, liabilities, options or freedom of action.

        A.     Related-to jurisdiction legal standard

        24.    This Court has jurisdiction to hear all civil proceedings “related to cases under

Title 11.” 28 U.S.C. § 1334(b). Section 1452(a) authorizes any party to remove a state court

action “related to” a bankruptcy proceeding to federal district court. 28 U.S.C. § 1452(a).

        25.    A case is “related to” a bankruptcy matter “when the dispute ‘affects the amount

of property for distribution or the allocation of property among creditors.’” In re Memorial

Estates, Inc., 950 F.2d 1364, 1368 (7th Cir. 1992) (quoting In re Xonics, Inc., 813 F.2d 127, 131

(7th Cir. 1987)). “Related to” jurisdiction is broadly construed because such jurisdiction is

“intended to encompass tort, contract, and other legal claims by and against the debtor . . . so that

all claims by and against the debtor can be determined in the same forum.” Zerand-Bernal Grp.,

Inc. v. Cox, 23 F.3d 159, 161 (7th Cir. 1994).

        B.     This matter is related to MMA’s bankruptcy

        26.    Plaintiff’s claims are “related to” MMA’s bankruptcy case because a judgment

against CP and other named defendants—in particular, Rail World, Rail World Locomotive

Leasing, and Edward Burkhardt (the Rail World defendants)—could affect the assets of the

bankruptcy estate.

        27.    CP and the Rail World defendants are co-insureds with MMA on a $25 million

insurance policy – the XL Policy. [See Exhibit G, p.34]. A judgment in this action against any

of the Rail World defendants would draw against the insurance coverage available to the

creditors of MMA’s bankruptcy estate.         “Given the evidence of shared insurance, . . . the

nineteen wrongful death suits, all of which name the Rail World Defendants . . . are related to the

Railway’s bankruptcy.” Transfer Order p. 22 [Exhibit C, p.35].

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        28.    The Transfer Order, which confirmed the related nature of the Original Illinois

Cases with MMA’s bankruptcy case, is particularly telling: plaintiff’s lawsuit is fundamentally a

re-filing of one of the Original Illinois Cases found to be “related to” MMA’s bankruptcy. This

lawsuit seeks redress against the same Rail World defendants for harm arising from the July 6,

2013 derailment and states nearly the same facts and claims as the 2013 lawsuit brought on

behalf of the same estate. [Compare Exhibit B (Amended Complaint) with Exhibit D (2013

Complaint)]. No settlement involving Rail World defendants is final.

        29.    The claim-similarity and defendant-overlap between this case and the Original

Illinois Cases confirm that this matter is “related to” MMA’s bankruptcy case and subject to this

Court’s jurisdiction just as Judge Torrensen found “related to” jurisdiction over the Original

Illinois Cases. See 28 U.S.C. §§ 1334(b); 1452(a); Transfer Order, p.22 [Exhibit C, p.35].

        30.    Subsequent to Judge Torrensen’s Order, the Proof of Claim and Adversary

Proceeding independently establish that plaintiff’s claims are “related to” MMA’s bankruptcy

case. All parties in the Maine Adversary Proceeding are essentially claiming every party but

themselves is liable for the derailment. And given the negligence, indemnity and contribution

claims at issue in the Adversary Proceeding, a judgment against any party in this case, including

CP, could affect the assets of the bankruptcy estate.

        C.     Pendant Jurisdiction

        31.    With jurisdiction over the claims against CP and the Rail World defendants, this

Court has pendant jurisdiction over claims against the other defendants because all claims form

part of the same case and controversy, arising from the same facts and alleged wrongdoing. See

28 U.S.C. § 1367(a); Transfer Order p. 26 [Exhibit C, p.39].




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        D.     Consent not required

        32.    Removal is proper by any “party,” and consent of the other parties is not required.

See 28 U.S.C. § 1452(a); Anstine & Musgrove, Inc. v. Cakasieu Refining Co., 436 B.R. 136, 139-

140 (D. Kan. 2010) (collecting cases holding “that the consent of all defendants is not required

for removal under Section 1452.”).

IV.     Conclusion

        33.    Under 28 U.S.C. § 1334(b) and § 1367(a), this Court has jurisdiction over

plaintiff’s action: plaintiff’s wrongful death claims as to some defendants are related to the

pending chapter 11 bankruptcy filed by MMA, and the Court has supplemental jurisdiction as to

the remaining claims and defendants.

        34.    By this filing, CP removes the state-court action pending in the Circuit Court of

Cook County, Illinois to this Court.




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Dated: October 2 , 2015

                                          /s/ James A. Fletcher

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                                  AFFIDAVIT OF SERVICE


STATE OF MINNESOTA            )                              Case No. ___________________
                              ) ss.
COUNTY OF HENNEPIN            )


      Barbara McNabb, being first duly sworn, deposes and states that on the 2nd day of
October, 2015, she served the attached documents:

        Notice of Removal (with Exhibits)
        Notice of Filing Notice of Removal
        Civil Cover Sheet

in connection with the following cases:

Ginette Cameron o/b/o Estate of Geneviève Breton v. Rail World, Inc., et al.

Rejean Roy o/b/o Estate of Melissa Roy v. Rail World, Inc., et al.

Alexia Dumas-Chaput o/b/o Estate of Mathieu Pelletier v. Rail World, Inc., et al.

Karine Paquet and Guy Paquet o/b/o Estate of Roger Paquet v. Rail World, Inc., et al.

Joannie Proteau o/b/o Estate of Maxime Duboise v. Rail World, Inc., et al.

Theresa Poulan Dubois o/b/o Estate of Denise Dubois v. Rail World, Inc., et al.

Lisette Fortin Bolduc and Steve Bolduc o/b/o Estate of Stéphane Bolduc v. Rail World, Inc., et al.

Sandy Bedard o/b/o Estate of Michael Guertin, Jr. v. Rail World, Inc., et al.

Micheline Veilleux o/b/o Estate of Richard Veilleux v. Rail World, Inc., et al.

Jacques Martin o/b/o Estate of David Martin v. Rail World, Inc., et al.

Gaston Bégnoche o/b/o Estate of Alyssa Charest Bégnoche v. Rail World, Inc., et al.

Gaston Bégnoche o/b/o Estate of Bianka Charest Bégnoche

Elise Dubois-Couture o/b/o Estate of David LaCroix-Beaudoin v. Rail World, Inc., et al.

Gaston Begnoche o/b/o Estate of Talitha Coumi Begnoche v. Rail World, Inc., et al.

Louise Couture o/b/o Estate of Kathy Clusiault v. Rail World, Inc., et al.



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Michael Boulanger o/b/o Estate of Eliane Parenteau v. Rail World, Inc., et al.

Ghislain Champagne and Éric Bilodeau o/b/o Estate of Karine Champagne

Christiane Mercier o/b/o Estate of Marianne Poulin v. Rail World, Inc., et al.

Clermont Pépin o/b/o Estate of Éric Pépin-LaJeunesse v. Rail World, Inc., et al.

Colette LaCroix Boulet o/b/o Estate of Yves Boulet v. Rail World, Inc., et al.

Dave LaPierre and Marie-Éve LaPierre o/b/o Estate of Stéphane LaPierre v. Rail World, Inc., et
al.

Geneviève Dubé o/b/o Estate of Yannick Bouchard v. Rail World, Inc., et al.

Guy Boulet o/b/o Estate of Marie-France Boulet v. Rail World, Inc., et al.

Herbert Ratsch o/b/o Estate of Willfried Heinz Ratsch v. Rail World, Inc., et al.

Justine LaPointe and Gabrielle LaPointe o/b/o Estate of Jo-Annie LaPointe v. Rail World, Inc., et
al.

Lily Rodrigue and Manon Rodrigue o/b/o Estate of Martin Rodrigue v. Rail World, Inc., et al.

Manon Bolduc o/b/o Estate of Jean-Pierre Roy v. Rail World, Inc., et al.

Mario Sévigny, Marc-Antoine Sévigny and Louise Breton o/b/o Estate of Andrée-Anne Sévigny v.
Rail World, Inc., et al.

Maude Faucher o/b/o Estate of Marie-Noëlle Faucher v. Rail World, Inc., et al.

Michelle Gaboury o/b/o Estate of Kevin Roy v. Rail World, Inc., et al.

Pascal LaFontaine o/b/o Estate of Karine LaFontaine v. Rail World, Inc., et al.

Richard Turcotte o/b/o Estate of Élodie Turcotte v. Rail World, Inc., et al.

Robert Picard o/b/o Estate of Louisette Poirier Picard v. Rail World, Inc., et al.

Solange Bélanger o/b/o Estate of Jimmy Sirois v. Rail World, Inc., et al.

Solange Bélanger o/b/o Estate of Marie-Sémie Alliance v. Rail World, Inc., et al.




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upon the attached Service List (which are the last known addresses and emails of said attorneys)
by U.S. Mail or email.


                                               s/ Barbara McNabb
                                               Barbara McNabb



Subscribed and sworn to before me
this 2nd day of October, 2015.


s/ Cathy L. Danek
Notary Public

Commission expires January 31, 2020.




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